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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE: DAVOL, INC. / C.R.                      Case No. 2:18-md-2846
 BARD, INC. POLYPROPOLENE
 HERNIA MESH PRODUCTS                           JUDGE EDMUND A. SARGUS, JR.
 LIABILITY LITIGATION                           Magistrate Judge Kimberly A. Jolson

 This document relates to:
 ALL ACTIONS


 PLAINTIFFS’ STEERING COMMITTEE’S MOTION FOR LEAVE TO FILE UNDER
  SEAL ITS FORTHCOMING MOTION TO ENFORCE SUBPOENAS AND COMPEL
                   THE PRODUCTION OF DOCUMENTS

       Pursuant to Local Rule 5.2.1(a) and the Protective Order entered by the Court in this matter

(ECF No. 48), the Plaintiffs’ Steering Committee (“PSC”) respectfully moves this Court to allow

the PSC to file its forthcoming motion to enforce subpoenas served upon American Hernia Society,

Inc. d/b/a Americas Hernia Society (“AHS”) and the Americas Hernia Society Quality

Collaborative Foundation (“AHSQCF”) (collectively “Respondents”) and to compel Respondents

to produce the documents specifically outlined in the accompanying motion under seal, including

the associated exhibits. For the reasons set forth below, this Court should grant the PSC’s motion.

       On September 3, 2019, the PSC served a subpoena duces tecum to Respondents. ECF No.

212. On October 11, 2019, Respondents served the PSC with objections to the requests for

documents. The PSC and Respondents met and conferred to resolve disputes regarding the

production of documents. All the issues could not be resolved. The issues are now ripe for the

Court’s consideration.

       At the last status conference on November 14, 2019, the parties discussed the forthcoming

non-party Motion to Enforce Subpoenas and Compel the Production of Documents to

Respondents. After a short discussion on the substantive issues concerning the forthcoming

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motion, the Court directed the PSC to submit its motion on the docket and indicated it would either

set a briefing schedule or, alternatively, set a telephonic conference with all Counsel so the issues

could be resolved without wasting too much time and resources. ECF No. 271, 42:23-43:2

       Since this status conference during the PSC’s work on this issue, it has become apparent

to the PSC that it will need to use documents and deposition testimony that has been designated

“Confidential” and “Highly Confidential” in support of its forthcoming motion to Enforce

Subpoenas and Compel the Production to Documents to Respondents. The PSC is required to file

documents that have been designated “Confidential” and “Highly Confidential” under seal

pursuant to Article VIII., Paragraph 23 of the Protective Order. Furthermore, during the Meet and

Confer process concerning the subpoenaed documents, Respondents notified the PSC that they are

withholding certain documents to the extent the subpoena seeks information protected from public

disclosure because they involve trade secrets, among other asserted protections and privileges. The

PSC is unable to assess the validity of Respondents’ objections and designations concerning their

documents that would justify such assertions, which would potentially support a proper request to

file under seal. Therefore, in an abundance of caution, the PSC seeks to file its forthcoming motion

under seal to bring Respondents under the protections provided in the Protective Order.

       Contemporaneous with this filing, the PSC will submit a copy of its Motion with exhibits

in camera, and serve a copy on Defense Counsel. The PSC also requests that the Court direct the

PSC on how it should provide a copy of the motion and exhibits – containing “Confidential” and

“Highly Confidential” material – to Respondents so that Respondents can respond. The Court may

then consider the best course of action having the benefit of the proposed motion and direct the

Parties and Respondents accordingly. See, ECF No. 271, 42:23-43-2 (MAGISTRATE JUDGE

JOLSON: “Right. So, Mr. O’Brien, go ahead and get your motion on the docket, and then I will



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put on a briefing schedule. Or, alternatively, I might set a telephonic status conference with

counsel so that we can maybe just resolve it without wasting too much time and resources.”).

       For all the reasons described above, the PSC respectfully requests that the Court grant its

Motion for Leave to File Under Seal its Forthcoming Motion to Enforce Subpoenas and Compel

the Production of Documents, and to set a briefing schedule, or, alternatively, to set a telephonic

conference with all Counsel to resolve the issues outlined in the forthcoming motion.

Dated: December 20, 2019.                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2019, I served the foregoing via the CM/ECF system

and electronic mail on the following counsel:



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